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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

        v.                                                  Case No. 17-cv-11633-DJC

 NAVELLIER & ASSOCIATES, INC. and
 LOUIS NAVELLIER,
      Defendants.


                         COMMISSION’S OPPOSITION TO
                  DEFENDANTS’ MOTION FOR LEAVE TO FILE REPLY

       The Commission opposes Defendants’ motion (ECF No. XXX) for leave to file a reply

brief related to their motion for reconsideration of the February 13, 2020 Order because:

       1) Enough is Enough: Each side has each already submitted their own summary

             judgment briefs, oppositions, replies, statement of facts, responses to statements of

             facts, and responses to responses to statements of facts, plus the motion for

             reconsideration and the opposition. If it hasn’t been said already, it probably doesn’t

             need to be and certainly is not important enough to carry the day on reconsideration.

       2) Defendants Already Took Extra Pages: Defendants’ reconsideration

             memorandum is 28 pages, exceeding the 20-page limit in Local Rule 7.1(b)(4)

             without leave from the Court to do so. They should not now get more pages to rehash

             the same arguments.

       3) Defendants Failed to Meet and Confer on this Motion: Defendants’ counsel

             apparently left a message for Commission counsel at 5:00 pm yesterday, and finished

             filing their Motion shortly at 6:26 pm, claiming “I have not heard back from



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           Plaintiff’s counsel.” This may just be a motion for leave to file reply, but parties

           shouldn’t certify they have complied with meet-and-confer rules when they haven’t.



For these reasons, the Court should deny the Motion for Leave to File Reply.


Dated: March 27, 2020                         Respectfully submitted,

                                              SECURITIES AND EXCHANGE
                                              COMMISSION

                                              By its Attorneys,

                                              /s/ ___Marc J. Jones_________
                                              Marc J. Jones (Mass. Bar No. 645910)
                                              Jennifer A. Cardello (Mass. Bar No. 657253)
                                              William J. Donahue (Mass. Bar No. 631229)
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                                CERTIFICATE OF SERVICE

        I certify that on March 27, 2020, a copy of the foregoing was electronically filed through
the ECF system and will be sent electronically to all persons identified in the Notice of
Electronic Filing and that paper copies will be sent to those indicated as non-registered
participants.

Dated: March 27, 2020                                /s/ Marc J. Jones




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